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CIVIL CAUSE FOR ORAL ARGUMENT
BEFORE JUDGE BIANCO

DATE:7/26/17                                          TIME: 2:00 p.m. (30 mins.)

CASE NUMBER: CV 16-07047

TITLE: Caro v. Spota

PLTFFS ATTY:           Jules Epstein
                        X present


DEFTS ATTY:            Megan O’Donnell, William Goggins, and William Gearty

                       X present                  X not present




FTR: 2:16-2:40                            COURTROOM DEPUTY: Michele Savona

OTHER:


  X    CASE CALLED.

  X   CONFERENCE HELD.

  X    ARGUMENT HEARD / CONT'D TO                             .

  X    DECISION:       X RESERVED          GRANTED          DENIED
